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 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:13-cr-00051-JAD-CWH
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   JEREMY GREENE-LEWIS, et al.,              )
                                               )
11                     Defendants.             )
     __________________________________________)
12
            The Court has received a request from Pretrial Services that Defendant Greene-Lewis’ prior
13
     violation petition be dismissed. Pretrial Services also requests that the Court remove Defendant’s
14
     treatment condition and grant Pretrial Services the discretion to determine Defendant’s drug testing
15
     frequency. Counsel for the United States and for Defendant have been notified and both concur
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     with Pretrial Services.
17
            IT IS HEREBY ORDERED that Defendant Greene-Lewis’ violation petition be
18
     dismissed.
19
            IT IS FURTHER ORDERED that Defendant Greene-Lewis’ pretrial treatment condition
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     is removed and Pretrial Services is granted the discretion to determine Defendant’s drug testing
21
     frequency. Pretrial Services shall continue to monitor Defendant and report any subsequent
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     violations to the Court.
23
            DATED: August 14, 2013.
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                                                  ______________________________________
26                                                C.W. Hoffman, Jr.
                                                  United States Magistrate Judge
27
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